







Affirmed and Opinion filed November 13, 2003















Affirmed and
Opinion filed November 13, 2003.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-02-00972-CV

____________

&nbsp;

CHARLES BRUCE SLEDD, Appellant

&nbsp;

V.

&nbsp;

LYNZIE W. GARRETT, NORMA A. LANDRY, AND JAMES R. MAHON, Appellees

&nbsp;

_____________________________________________________________________

&nbsp;

On Appeal from
the 80th District Court

Harris County, Texas

Trial Court
Cause No. 02-17910

&nbsp;

_____________________________________________________________________

&nbsp;

O P I N I O N

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; In this case, the court addresses
whether the affirmative defense of judicial immunity extends to members of an
appraisal review board.&nbsp; Appellant
Charles Bruce Sledd, the plaintiff below, appeals the
trial court’s summary judgment in favor of appellees/defendants
Lynzie Garrett, Norma Landry and James Mahon, all of
whom were sued for actions taken as members of the Appraisal Review Board for
the Harris County Appraisal District.&nbsp; We
affirm the trial court’s judgment.








&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; I.&nbsp;
Factual and Procedural Background

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Sledd is a property tax consultant who represents property
owners protesting valuations of the Harris County Appraisal District (the “District”).&nbsp; He is compensated on a contingency-fee basis
determined by the amount of reduction, if any, he
obtains in his clients’ appraised property values.&nbsp; Sledd represented
Three Birds Property Company d/b/a John Eagle Acura (the “Property Owner”) at a
formal protest hearing before a three-member panel of the Harris County
Appraisal Review Board (the “Board”), comprised of Garrett, Landry, and Mahon
(collectively, the “Panel Members”).&nbsp; Sledd protested the District’s appraisal of the Property
Owner’s property.&nbsp; Sledd
also alleged errors in the District’s valuation report and claimed the District
provided insufficient documentation of its valuation.&nbsp; Sledd requested the
Board to set the Property Owner’s property value at $394,990, rather than the
Board’s appraised value of $2,307,190.&nbsp;
The Panel Members did not make the drastic reduction Sledd
requested, but they recommended a reduction in the appraised value of his
client’s property to $1,950,000.&nbsp; The
Board then accepted this valuation.&nbsp; Sledd and the Property Owner did not appeal the Board’s
valuation of the property.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Sledd
filed this claim, pro se, in district court against the Panel Members
individually, seeking to hold them personally liable for their valuation of the
Property Owner’s property.&nbsp; Sledd claims the Panel Members were negligent because they
ignored Texas Tax Code section 41.43, which requires the District to establish
value by a preponderance of the evidence.&nbsp;
Sledd claims this alleged negligence by the
Panel Members caused him damage due to his reduced contingency fee.&nbsp; The trial court granted the Panel Members’
motion for summary judgment, and Sledd appeals.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; II.&nbsp; Standard of Review

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; The trial court did not specify the
grounds upon which it granted summary judgment; therefore, the judgment will be
affirmed if any ground raised in the motion for summary judgment is
proper.&nbsp; See Carr v. Brasher, 776 S.W.2d 567, 569 (Tex.
1989).&nbsp; Summary judgment is appropriate
when all elements of an affirmative defense are established as a matter of law.
&nbsp;See Science Spectrum, Inc. v. Martinez, 941 S.W.2d 910, 911 (Tex. 1997).&nbsp; In reviewing
the trial court’s summary judgment, we take all evidence favorable to Sledd as true, and indulge every reasonable inference in
his favor.&nbsp; Id.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; III.&nbsp; Analysis and Discussion

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; In
their motion for summary judgment, the Panel Members asserted the affirmative
defense of judicial immunity.&nbsp; Although
the Panel Members are not judges, the doctrine of judicial immunity has been
applied to quasi-judicial officials in certain circumstances.&nbsp;&nbsp; When applied, the doctrine operates as an
absolute bar to liability for acts falling within its scope.&nbsp; See Bradt v. West, 892 S.W.2d 56, 66 (Tex. App.—Houston
[1st Dist.] 1994, writ denied) (holding absolute judicial immunity applies to
judicial acts taken within a judge’s subject-matter jurisdiction).&nbsp; Judicial immunity furthers the public
interest in the administration of justice by allowing judicial officers to be
free to act on their own convictions, without fear of personal liability. See Stump v. Sparkman, 435 U.S. 349,
363–364, 98 S. Ct. 1099, 1108, 55 L. Ed. 2d 331

(1978).&nbsp; These same concerns and
interests tend to support the application of judicial immunity to acts of
quasi-judicial officials.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Judicial immunity applies to
quasi-judicial officials who, irrespective of their title, perform functions
essentially similar to those of judges, in a setting similar to that of a
court.&nbsp; See Butz v. Economou,
438 U.S. 478,
511–14, 98 S. Ct. 2894, 2913–15, 57 L. Ed. 2d 895

(1978) (holding that absolute judicial immunity covers judicial acts of hearing
examiners and administrative law judges).&nbsp;
To determine whether the Panel Members are entitled to judicial
immunity, we examine the functions they perform to see if these functions are
comparable to those of judges.&nbsp; See id., 438 U.S. at 512–13, 98 S. Ct.
at 2914–15; Beck v. Texas State Bd. of
Dental Examiners, 204 F.3d 629, 634–36 (5th Cir. 2000) (applying judicial
immunity to state board of dental examiners members when they acted in a
quasi-judicial role in disciplinary proceedings); O’Neal v. Mississippi Bd. of Nursing, 113 F.3d 62, 65–67 (5th Cir.
1997) (holding state nursing board members entitled to absolute immunity
because they performed quasi-judicial functions in adjudicatory hearings revoking
nursing licenses); Blue Cross Blue Shield
of Texas v. Juneau, 114 S.W.3d 126, 130–33 (Tex. App.—Austin 2003, no pet.)
(holding that arbitrators are entitled to absolute
immunity for acts within the scope of their duties).&nbsp; In Butz, the United States Supreme Court identified a
nonexclusive list of factors for determining whether administrative officials
perform quasi-judicial functions entitling them to judicial immunity: 

(1)&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; the need to assure the officials may
perform their functions without harassment or intimidation;

(2)&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; the presence of safeguards that
reduce the need for private damages actions as a means of controlling
unconstitutional conduct;

(3)&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; insulation from political influence;

(4)&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; the importance of precedent;

(5)&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; the adversarial nature of the
process; and 

(6)&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; the resolution of error by appeal. &nbsp;

&nbsp;

See Butz, 438 U.S. at 512, 98
S. Ct. at 2913–14.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; The Texas Tax Code establishes
appraisal review boards for each appraisal district as a forum for property
owners to protest appraisal-district valuations.&nbsp; See
Texas Tax Code §§ 6.41, 41.45.&nbsp;
Board decisions may be appealed by the property owner to a state
district court.&nbsp; Id. §§ 42.01, 42.21.&nbsp; In large
appraisal districts such as the Harris County Appraisal District, more than
three members comprise the appraisal review board; the entire Board does not
sit at each protest hearing.&nbsp; See id.
§ 6.41(b).&nbsp; A panel of three members of
the Board conducts the hearings and recommends a valuation to the entire Board,
which then makes the final decision.&nbsp; See id.
§ 41.45(d).&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Panel members hearing a protest have
duties similar to judges.&nbsp; The Texas Tax
Code uses judicial terminology to describe the panel members’ function.&nbsp; For example, an appraisal review board may
“sit” in panels to “conduct protest hearings.” &nbsp;Id.&nbsp; Panel
members have the power to subpoena witnesses and documents.&nbsp; See
id. § 41.61(a).&nbsp; Like a litigant in a court proceeding, the
property owner may offer sworn testimony, evidence, or argument at the hearing
before the panel.&nbsp; Id. §§ 41.45(b), 41.67(a).&nbsp;
As in judicial proceedings, adequate notice of the hearing is required
as well as the opportunity to present argument or evidence 

 class=Section3&gt;

to
support the property owner’s protest. &nbsp;See id. §§ 41.44,
41.45(b).&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Panel members must be able to rule
on the valuation issues that come before them free from harassment or
intimidation by property owners or their representatives.&nbsp; Panel decisions can have a significant effect
on a property owner’s taxes, and the financial repercussions of such decisions
could motivate disappointed property owners or their agents to seek recovery of
civil damages from members of the Board.&nbsp;
A protest hearing before panel members is an adversarial process, and
the property owner’s ability to appeal to the district court supports the
second, third, and sixth Butz
factors.&nbsp; It is undisputed that the Panel
Members were acting as a panel for the Board, and that their function at the
protest hearing was to adjudicate the valuation protest.&nbsp; Sledd sued the
Panel Members for their allegedly actionable conduct as Panel Members regarding
the formal protest hearing.&nbsp; Applying the
Butz
factors to the undisputed summary-judgment evidence, we conclude that the Panel
Members perform quasi-judicial functions and that judicial immunity bars Sledd’s claims against the Panel Members in this case.&nbsp; See Butz, 438 U.S. at 511–14, 98 S. Ct. at 2913–15; Beck, 204 F.3d at
634–36; O’Neal, 113 F.3d at 65–67; Juneau, 114 S.W.3d at 130–33; Inwood Dad’s Club v.
Aldine Indep. Sch. Dist., 882 S.W.2d 532, 538–39
(Tex. App.—Houston [1st Dist.] 1994, no writ) (indicating that appraisal review
board is quasi-judicial body).

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Sledd
argues the Panel Members are not entitled to judicial immunity because they do
not make a final decision but only submit their recommendation to the Board for
final determination.&nbsp; This argument lacks
merit.&nbsp; As members of the Board, the
Panel Members acted within their authority and performed their functions in
deciding the appropriate valuation.&nbsp; In
smaller appraisal districts, the entire appraisal review board hears and
decides all protests, and there is no recommendation before a final
determination is made.&nbsp; Because the
appraisal district in Harris County is larger,
three board members cannot hear all of the protests.&nbsp; The resulting recommendation procedure should
not preclude judicial immunity from attaching to functions performed by panel
members in larger counties when it would otherwise attach to panels comprised
of the entire board in smaller counties.&nbsp;


&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; IV.&nbsp; Conclusion

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; The Panel Members perform
quasi-judicial functions that are protected by judicial immunity.&nbsp; Therefore, the trial court properly granted
summary judgment in favor of the Panel Members.&nbsp;
Because we find the Panel Members conclusively established the
affirmative defense of judicial immunity, we need not address the other grounds
for summary judgment.&nbsp; Accordingly, we
overrule Sledd’s issues, and we affirm the trial
court’s judgment.

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; /s/&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Kem Thompson Frost

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Justice

&nbsp;

Judgment
rendered and Opinion filed November
 13, 2003.

Panel
consists of Justices Yates, Hudson, and Frost.

&nbsp;





